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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                              FORT LAUDERDALE DIVISION

                               CASE NO. 23-60599-CIV-SMITH

 VITAL PHARMACEUTICALS, INC., and JHO
 INTELLECTUAL PROPERTY HOLDINGS, LLC,

          Plaintiffs,                                    Bankr. Adv. Pro. No 23-01031 (PDR)
 v.

 ORANGE BANG, INC., and MONSTER ENERGY
 COMPANY,

       Defendants.
 __________________________________________/

      RESPONSE OF MONSTER ENERGY COMPANY AND ORANGE BANG, INC. TO
        PLAINTIFFS’ EMERGENCY MOTION FOR RECONSIDERATION (DE 13)

          Monster Energy Company (“Monster”) and Orange Bang, Inc. (“Orange Bang” and

 together with Monster, “Defendants”), respond as follows to Plaintiffs’ Emergency Motion for

 Reconsideration of Order Granting Defendants’ Motion for Entry of an Order Withdrawing

 Reference and Transferring Venue of Adversary Proceeding to Central District of California (DE

 13) (“Motion to Reconsider”), and respectfully represent as follows:

          1.      First and foremost, Defendants acknowledge that chapter 11 debtors, Vital

 Pharmaceuticals, Inc., and JHO Intellectual Property Holdings, LLC (“Plaintiffs”) filed a response

 to the Joint Motion of Monster Energy Company and Orange Bang, Inc. for Entry of an Order

 Pursuant to 28. U.S.C. §§ 157(d) and 1412, and Bankruptcy Rule 5011(a) Withdrawing the

 Reference and Transferring Venue of Adversary Proceeding to Central District of California (DE

 1) (“Motion to Withdraw and Transfer”). Plaintiffs’ response to the Motion to Withdraw and

 Transfer was timely filed in the Bankruptcy Court and docketed in this action. (DE 2-2.) Likewise,


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 Defendants’ reply was properly docketed. (DE 2-3.) Therefore, Defendants acknowledge that the

 Plaintiffs have not defaulted in responding to Defendants’ Joint Motion to Withdraw and Transfer.

         2.       Notwithstanding the lack of a default, Defendants’ Joint Motion to Withdraw and

 Transfer should be granted. Here, the Motion to Withdraw and Transfer and the Reply filed in

 support thereof provides legal and factual support that lead to the sole possible adjudication of the

 relief requested: the mandatory withdrawal of the reference and the transfer of this case to the

 United States District Court for the Central District of California.

         3.       The Motion to Withdraw Reference and Transfer boils down to issues of comity

 and judicial economy: whether the United States District Court for the Central District of

 California should interpret its own ruling awarding Defendants $175 million for Plaintiffs’

 infringement of Defendants’ trademarks, among other things and permitting Plaintiffs a license

 subject to a 5% royalty. For the reasons explained in the Motion to Withdraw Reference and

 Transfer, Defendants submit the answer to this question is unequivocally, yes.

         4.       Additionally, the thrust of Plaintiffs’ primary opposition to the Motion to Withdraw

 and Transfer is entirely moot. Specifically, Plaintiffs have repeatedly argued to this Court that the

 Bankruptcy Court is the only venue that can provide an expedited resolution of the adversary

 proceeding prior to the bid deadline and ultimate auction of Plaintiffs’ assets in the bankruptcy

 case.1 The factual developments in the bankruptcy case subsequent to the Plaintiffs’ opposition to

 the Motion to Withdraw and Transfer make clear that this alleged contention has been rendered

 moot.




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  Defendants have disputed that the Plaintiffs’ sale process provides any legal or factual basis to deny the Motion to
 Withdraw and Transfer. See DE 10.


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            5.      First, Plaintiffs stated that failure to resolve the dispute by the original April 24,

 2023 bid deadline would greatly disrupt the sale process. (DE 9 at 5.) But this deadline has come

 and gone, and the sale process has continued unabated.

            6.      Second, the current bidding deadline for the sale process is this Monday, May 22,

 and the auction is this Thursday, May 25.2 Given these deadlines, it is readily apparent that

 expedited resolution of the adversary proceeding is not necessary as, regardless of forum, the

 qualification of bids and the auction will be completed without a final adjudication of this

 adversary proceeding.

            7.      Finally, as Defendants have previously argued, Plaintiffs have yet to identify a

 single qualified bidder that has solicited an assignment of the license at issue of this pending

 adversary proceeding. For these reasons, all arguments that Plaintiffs advance against the Motion

 to Withdraw Reference and Transfer based on the timing of the sale process have been mooted.

            8.      The careful consideration of the interpretation of the California judgment, which

 involves substantial and material issues of non-bankruptcy federal trademark law, is best left in

 the competent hands of the United States District Court for the Central District of California that

 issued the California Judgment, rather than the Bankruptcy Court.

            9.      Attached to this Response as Exhibit “A” is a proposed Amended Order Granting

 Defendants’ Joint Motion to Withdraw and Transfer.

            WHEREFORE, Monster Energy Company and Orange Bang, Inc. respectfully request

 that the Court enter an Amended Order that: (i) vacates any default entered against Plaintiffs;

 (ii) grants the relief requested in the Joint Motion of Monster Energy Company and Orange Bang,

 Inc. for Entry of an Order Pursuant to 28. U.S.C. §§ 157(d) and 1412, and Bankruptcy Rule



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     See DE 1283 in In re Vital Pharmaceuticals, Inc., Bankruptcy Case No. 22-17842-PDR.

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 5011(a) Withdrawing the Reference and Transferring Venue of Adversary Proceeding to Central

 District of California (DE 1) based on the substantive merits for the relief requested therein, and

 (iii) provides for all other relief that is just and proper.

 Dated: May 21, 2023                                AKERMAN LLP

                                                     /s/ Michael I. Goldberg
                                                     Michael I. Goldberg
                                                     Florida Bar No. 886602
                                                     Eyal Berger
                                                     Florida Bar No. 11069
                                                     201 East Las Olas Boulevard, Suite 1800
                                                     Fort Lauderdale, FL 33301
                                                     T: (954) 463-2700 /F: (954) 463-2224
                                                     michael.goldberg@akerman.com
                                                     eyal.berger@akerman.com


                                                     -and-


                                                     PACHULSKI STANG ZIEHL & JONES LLP3
                                                     Richard M. Pachulski (pro hac vice)
                                                     Ira D. Kharasch (pro hac vice)
                                                     Robert J. Feinstein (pro hac vice)
                                                     Teddy M. Kapur (pro hac vice)
                                                     Steven W. Golden (pro hac vice)
                                                     10100 Santa Monica Blvd., 13th Floor
                                                     Los Angeles, CA 90067-4003
                                                     T: (310) 277-6910 /F: (310) 201-0760
                                                     rpachulski@pszjlaw.com
                                                     ikharasch@pszjlaw.com
                                                     rfeinstein@pszjlaw.com
                                                     tkapur@pszjlaw.com
                                                     sgolden@pszjlaw.com

                                                     Counsel to Monster Energy Company

                                                     AND

 3
   Michael I. Goldberg hereby certifies that the undersigned attorneys are appearing pro hac vice in this matter pursuant
 to court orders in the main bankruptcy case, and will file separate applications for pro hac vice admission under this
 Court’s local rules. See Orders entered in Bankruptcy Case No. 22-17842-PDR, dated as follows: (i) Teddy M. Kapur,
 October 14, 2022 [DE 103]; (ii) Robert J. Feinstein, October 17, 2022 [DE 133]; (iii) Steven Golden, October 17,
 2022 [DE 134]; (iv) Richard M. Pachulski, October 18, 2022 [DE 158] ; and (v) Ira D. Kharasch, October 18, 2022
 [DE 159].


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                                                    FENDER, BOLLING AND PAIVA, P.A.

                                                    /s/ G. Steven Fender
                                                    G. Steven Fender, Esq.
                                                    Fla. Bar No. 060992
                                                    P.O. Box 1545
                                                    Ft. Lauderdale, FL 33302
                                                    T: (407) 810-2458
                                                    steven.fender@fender-law.com

                                                    -and-

                                                    KTBS LAW LLP4
                                                    Thomas E. Patterson, Esq. (pro hac vice)
                                                    Nir Maoz (pro hac vice)
                                                    1801 Century Park East
                                                    Twenty Sixth Floor
                                                    Los Angeles, CA 90067
                                                    T: (310) 407-4000
                                                    F: (310) 407-9090
                                                    tpatterson@ktbslaw.com
                                                    nmaoz@ktbslaw.com

                                                    Counsel to Orange Bang, Inc.




 4
   G. Steven Fender hereby certifies that the undersigned attorneys are appearing pro hac vice in this matter pursuant
 to court orders in the main bankruptcy case, and will file separate applications for pro hac vice admission under this
 Court’s local rules. See Orders entered in Bankruptcy Case No. 22-17842-PDR, dated as follows: (i) Thomas E.
 Patterson, November 8, 2022 [DE 269]; (ii) Nir Maoz, November 8, 2022 [DE 270].


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